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                      UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

MORINVILLE, )                                       Case No. 20-cv-00980
                          )
      Plaintiff, )
                          )
      v.              )
                          )
OVERWATCH )
TECHNOLOGIES, INC. ET )
AL.,                   )
                          )
      Defendants. )



                PLAINTIFF S MOTION TO AMEND COMPLAINT

                                 EXHIBIT B




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                        OVER WATCH DIGITAL HEALTH, INC.
               Independence Matters, Pe ce of Mind Matters, Innovation Matters ™

                                             March 27, 2020

Dear Convertible Note and Promissory Note Holders,

         As you are no doubt aware, we are in the midst of a global pandemic caused by the coronavirus.
In addition to the effects this pandemic has had on everyone personally, the coronavirus has resulted in
unprecedented disruptions to the global investment markets. 1 am writing to you today to give you an
update on how these disruptions have affected Overwatch s business operations and funding efforts. Please
note that the information contained in this letter is strictly confidential and should not be distributed or
forwarded to anyone beyond the intended recipient.

                                          Overwatch Funding

        Since its inception in February 2019, Overwatch has raised approximately US $ million
through sales of convertible and promissory notes. The intended use of these funds was to build out our
epilepsy monitoring and alerting application (the Overwatch App ) and to implement machine
learning and artificial intelligence training algorithms to enhance accuracy. In addition, these funds were
to be used to pay development costs for the Eympact App (concussion detection application) and the
Eympair App (drug-detection application) which are based on technology created by BioEye, Ltd. (as
noted in my previous correspondence, Overwatch entered into an agreement in September 2019 to
acquire Israel-based BioEye).

       As a result of your investment in Overwatch, I am pleased to inform you that we
co pleted development and training of the Overwatch App with the latest version of this product
showing a remarkable seizure detection accuracy rate of 95-96% and a false positive rate of
approximately 1%. The Overwatch App will be released to the public on the Apple App Store
and through our website (www.overwatchdh.com) on Monday, March SO'1 . The Eympact and Eympair
Apps require just a few more weeks of development effort in order to have products ready for commercial
launch to the public.

        To finish development efforts and to ramp up marketing activities to generate meaningful
revenues from our products, we had planned to raise in April AU $ million - $ million through the
sale of common shares on the Australian Securities Exchange ( ASX ) pursuant to a reverse takeover
transaction with Rision, Ltd. Unfortunately, due to the coronavirus’s disruption of the global investment
markets, our plans to raise funds through the ASX have had to be put on hold for the foreseeable future.

                                     Expense Reduction Initiatives

         In response to the current uncertain funding environment, we undertook significant steps to
reduce monthly operational costs. In Israel, we terminated all employees with the exception of our chief
scientist and senior software engineer and closed our office. In the United States, we terminated all
contract and long-term developers and engineers with the exception of our chief technology officer and
one off-shore contract software engineer. We also delayed development of the Eympair and Eympact
Apps in order to eliminate all development and sales and marketing expenses associated with those
products. Finally, all of our remaining personnel agreed to accept significant cuts in compensation
resulting in a 30% reduction in


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employee salaries. As a result of these initiatives, Overwatch has reduced its operational costs and
expenses to less than US $ per month.

                                        Funding Support Request

        In order to keep our current (reduced) operations intact, Overwatch requires at least US
$ from its existing convertible noteholders and promissory noteholders and other interested
parties. This money will allow us to pay operational costs and expenses for the next four months
($ /month x 4 months = $ ). The terms and conditions of this funding will be the same as
the convertible notes that you acquired in 2019 and the requested minimum investment amount is US
$       .


        As of the date of this letter, Overwatch has secured commitments of US $ contingent
upon us successfully raising the remainder of our $ funding requirement. We are also
exploring whether additional financial support can be obtained fro the U.S. coronavirus stimulus
spending bill which is anticipated to be signed into law this week. In addition to these
encouraging developments, we are exploring funding opportunities from unaffiliated individual and
institutional investors to raise the remainder of our short-term funding needs.
          Continuing operations for the next four months will give Overwatch the opportunity to:

        • Commercially launch the Overwatch App next week and expand our subscriber base (currently,
                  accounts have been opened for the Overwatch App) and increase revenues from
            monthly patient and doctor subscriptions as well as allow us to source additional funding
            opportunities;
        • Give us a chance to recommence discussions and negotiations with a major professional
                       sports league to initiate field testing of the Eympact App for sideline concussion
            detection screening; and
        • Finalize the clinical trial protocol and master services agreement for the immediate
            commencement of an independent clinical trial of the Overwatch App with
                                   ( ), the largest neurology practice group in . The
            clinical trial protocol and master services agreement have been substantially finalized and the
            clinical trial will commence when Overwatch has secured this additional funding.
        These initiatives should give Overwatch the best chance of maintaining or enhancing its value
during these uncertain times and place us in the best position to continue to attract funding. Finally, and
although no one can predict what the future will bring, we believe that securing this funding to continue
operations for the immediate future will give the global investment markets an opportunity to stabilize so
that Overwatch can recommence efforts to secure a public listing and raise long-term funding through the
ASX or through a public securities exchange in the United States.

        We have inc edible products that will have a positive impact on the medical and law enforcement
communities and a dedicated and committed group of employees. I strongly believe that with this additional
funding, we will get past this difficult pe iod and that investors will see a very good return on their
investment. I hope that you will continue to support us. If you would like to participate in this fundin ,
please contact your broker/investment advisor or me at by not later than
Friday, April 3-.




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      Should you have any questions regarding Overwatch s business operations or this funding
support request please do not hesitate to contact me at the email noted above or at .



                                              Sincerely,

                            OVERWATCH DIGITAL HEALTH, INC.



                                               ;rry Fokas
                                      Chief Executive Officer




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